                          United States District Court
                        Western District of North Carolina
                               Charlotte Division

           Kenneth D. Bell,           )              JUDGMENT IN CASE
                                      )
             Plaintiff(s),            )               3:15-cv-00193-GCM
                                      )
                 vs.                  )
                                      )
    Hagit Rackach Sakorka Yarchi      )
             Jacob Stiner
 Yizhak (Harel) Ben Aharon Rozental
             Itzhak Harel
           Pnina Sorkaski
           Hava Lipzer Nir
         Sigalit Zinger Rahat
              Ilan Doron
   Michaeli Demian Mechalashvilli
          Meshulam Shapira
            Erez Shaked
      Menahem Yizhak Liptzer
           Riki Haimovitz
          Oshrit Martziano
             Anat Himan
           Shmuel Cohen,
            Defendant(s).             )

 DECISION BY COURT. This action having come before the Court and a decision having been
rendered;

IT IS ORDERED AND ADJUDGED that Judgment is hereby entered in accordance with the
Court’s March 21, 2017 Order.

                                               March 21, 2017




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